Case 3:06-cr-00316-VC   Document 152   Filed 08/31/06   Page 1 of 2




            Case 3:06-cr-00316-MHP     Document 151     Filed 08/31/2006   Page 1 of 2
Case 3:06-cr-00316-VC    Document 152    Filed 08/31/06           Page 2 of 2




            Case 3:06-cr-00316-MHP      Document 151              Filed 08/31/2006       Page 2 of 2




                                                      ISTRIC
                                                 TES D      TC
                                               TA
                                                                         O




       August 31, 2006
                                          S




                                                                          U
                                         ED




                                                                           RT




                                                                   ERED
                                                     O ORD
                                     UNIT




                                              IT IS S
                                                                                 R NIA




                                                                        en
                                                               d M. Ch
                                     NO




                                                           dwar
                                                   Judge E
                                                                                 FO
                                        RT




                                                                             LI




                                              ER
                                         H




                                                                         A




                                                   N                         C
                                                                       F
                                                       D IS T IC
                                                             R      TO
